      Case 2:07-cr-20076-RHC-RSW ECF No. 511, PageID.2011 Filed 04/15/15 Page 1 of 1
MIE 1A                               Order of the Court to Continue Supervision
Revised 07/12
                                     UNITED STATES DISTRICT COURT
                                                   for the
                                         Eastern District of Michigan


UNITED STATES OF AMERICA

                v.

GUNTER, Jerry                                                        Crim. No.: 07-CR-20076-08

On February 26, 2015, the Court authorized the issuance of a supervised release warrant based upon a violation
petition citing violations of supervision. The issues of the violations were heard in Court on April 9, 2015 and
the Court made the following findings:
 x    Bond revoked while Jerry Gunter is waiting for Residential Reentry Center placement. While in the U.S.
      Marshal custody, Jerry Gunter shall have a full physical evaluation and treatment.


      A court date will be scheduled 90 days from Jerry Gunter’s placement in a Residential Reentry Center.


      The following special conditions of supervision is added:

      The defendant shall notify the United States Probation Officer (USPO) immediately (no later than 72
      hours) if the defendant receives any prescription for medication containing a controlled substance during
      the period of supervised release. The defendant shall provide the USPO such documentation and
      verification as the USPO may reasonably request.


                                                               Respectfully submitted,


                                                               s/Tracy Kosmas
                                                               Supervising U.S. Probation Officer
                                                               313-234-5272

                                           ORDER OF THE COURT

                Pursuant to the above, it is ordered that the pending violation matter be continued to
                a later date and supervision in this case be continued. All conditions imposed at the
                time of sentencing, along with any subsequent modifications to those conditions,
                remain in effect.

                      Dated this 15th Day of April, 2015.


                                                               s/Robert H. Cleland
                                                               Robert H. Cleland
                                                               United States District Judge
